
The People of the State of New York, Respondent,
againstDimitrius Adams, Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Kevin B. McGrath, J.), rendered October 1, 2014, after a nonjury trial, convicting him of criminal possession of marijuana in the fifth degree, and imposing sentence.




Per Curiam.
Judgment of conviction (Kevin B. McGrath, J.), rendered October 1, 2014, reversed, on the law, and the accusatory instrument dismissed.
Reversal of the judgment convicting defendant of criminal possession of marijuana in the fifth degree (see Penal Law 221.10[1]) and dismissal of that charge is mandated since, as the People concede, the allegations in the accusatory instrument were jurisdictionally insufficient to meet the "public place" element of the offense.
In view of the foregoing, we reach no other issue.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: April 13, 2018










